Ease 1:46-ey-07175-BLE Becument 145 Filed 10/20/24 Bage 4 of 4
KANG HAGGERTY

Kandis L. Kovalsky
215.525.1993
kkovalsky@kanghaggerty.com

October 20, 2021

Via ECF

Honorable Denise L. Cote

U.S. District Court for the Souther District of New York
500 Pearl Street, Room 1910

New York, NY 10007

Re: Thomas Koestler vy. Martin Shkreli, No. 16-cv-7175-DLC

Dear Judge Cote:

On behalf of Non-Party Kang Haggerty, I write to respectfully request permission to file under
seal certain portions of Exhibit A to Kang Haggerty’s letter to the Court dated and filed today. The
requested redacted information contains confidential and sensitive financial and banking
information, as well as the amounts of attorney’s fees paid to Kang Haggerty, which are
confidential. Each of the requested redactions contains confidential business information relating
to Kang Haggerty and other individuals and entities, including the United States government and
other law firms, that has not been released into the public domain. The sealing of this information
is necessary to preserve the higher values of protecting confidential business and banking
information of Kang Haggerty and other individuals and entities, and thus, sealing limited portions
of Exhibit A is narrowly tailored to achieve the aim of preserving such higher values.

In accordance with Rule 7.B of Your Honor’s Individual Practices in Civil Cases and with the
requirements for electronically filing under seal, Kang Haggerty will publicly file its letter with
the redacted Exhibit A, and on a separate docket entry, Kang Haggerty will file under seal the letter
with an unredacted copy of Exhibit A.

Respectfully submitted, é. a WA

(s/ Kandis L, Kovals | perch, Eg
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Kandis L. Kovalsky -
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Counsel for Non-Party Kang Haggerty & Fetbroyt LLC

ce All counsel of record (via ECF)

KANG HAGGERTY & FETBROYT LLC
123 South Broad Street, Suite 1670, Philadelphia, PA 19109
7:215.525.5850 F:215.525.5860 kanghaggerty.com

 
